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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 VERED YAKOVEE,                                             CASE NO.: _____________

        Plaintiff,                                      JURY TRIAL REQUESTED

 v.

 MIAMI HEAT LIMITED
 PARTNERSHIP and BASKETBALL
 PROPERTIES, LTD., together
 d/b/a THE HEAT GROUP,

       Defendant.
 ____________________________/

                                         COMPLAINT
        Plaintiff, VERED YAKOVEE (hereafter “Plaintiff” or “Ms. Yakovee”) brings this
 Complaint seeking damages and equitable relief against Defendant, MIAMI HEAT
 LIMITED PARTNERSHIP and BASKETBALL PROPERTIES, LTD., together d/b/a
 THE HEAT GROUP (hereafter collectively referred to as “Defendant” or “The Heat
 Group”), for interference with and retaliation against her exercise of her rights under the
 Family Medical Leave Act.
                                     Jurisdiction and Venue
        1.        This is an action for compensatory damages in excess of $75,000, exclusive of
 attorney’s fees, interest and costs, brought pursuant to the Family and Medical Leave Act of
 1993, 29 U.S.C. § 2601, et seq. (hereinafter “FMLA”), and is properly within the jurisdiction
 of this Court.
        2.        Ms. Yakovee invokes the federal question jurisdiction of this Court under 28
 U.S.C. § 1331.
        3.        Ms. Yakovee is and was at all times material hereto a resident of Miami-Dade
 County, Florida, and is in all other ways sui juris.
        4.        The Heat Group are and were at all times material hereto Florida corporate
 entities with their primary place of business located in Miami, Florida.
        5.        At all times material to this Complaint, Ms. Yakovee was an “eligible

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 employee” of The Heat Group in that she had been employed by the Defendant for at least
 12 months and worked at least 1,250 hours annually.
        6.     At all times material to this Complaint, The Heat Group were corporate entities
 engaged in commerce or an activity affecting commerce with 50 or more employees on its
 payroll for each working day during each of 20 or more calendar workweeks of 2019.
        7.     Venue for this action lies in the Southern District of Florida pursuant to the
 FMLA because Ms. Yakovee resides in, The Heat Group conducts business in, and some or
 all of the events giving rise to Ms. Yakovee’s claims occurred in Miami-Dade County, Florida.
                                    Arbitration Agreement
        8.     The Heat Group mandated Ms. Yakovee sign an arbitration agreement as a
 condition of employment, attached as Exhibit A.
        9.     The arbitration agreement permits Ms. Yakovee to recover her reasonable
 attorney’s fees under the law; however, it precludes Ms. Yakovee from vindicating her rights
 under the FMLA as it directs that the arbitrator “shall not” award costs. See Ex. A at 2.
        10.    Under the FMLA, a prevailing plaintiff is entitled to both her fees and costs;
 such an award is not discretionary: “The court in such an action shall, in addition to any
 judgment awarded to the plaintiff, allow a reasonable attorney's fee, reasonable expert witness
 fees, and other costs of the action to be paid by the defendant.” 29 U.S.C. § 2617(a)(3)
 (emphasis added).
        11.    This provision in the arbitration agreement violates the FMLA and therefore
 prohibits Ms. Yakovee from vindicating her rights. See Hudson v. P.I.P. Inc., --- Fed. Appx. ---
 -, No. 19-11004, 2019 U.S. App. LEXIS 34843, at *5-6 (11th Cir. Nov. 22, 2019) (upholding
 trial court’s determination that clause in arbitration agreement requiring each party to bear
 their own fees and costs prohibited the plaintiffs from vindicating their rights under the FLSA
 and was thus unenforceable).
        12.    The arbitration agreement does not contain a severability provision or a
 delegation provision permitting an arbitrator to determine the validity of the agreement.
        13.    This Court must determine whether the offending clause of the arbitration
 agreement is severable, or whether the agreement as a whole is not enforceable. See Hudson,
 2019 U.S. App. LEXIS 34843 at *7-8 (remanding to trial court for determination as to whether
 unenforceable provisions could be severed under Florida law); see also, Shotts v. OP Winter

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 Haven, Inc., 86 So. 3d 456, 480-81 (Fla. 2011) (holding that where no delegation provision
 exists in the arbitration agreement, the court must determine the validity of the contract’s
 provisions).
                                     Factual Allegations
        14.     Plaintiff Vered Yakovee began working for The Heat Group in March 2015 as
 an attorney with the title of Vice President and Associate General Counsel in its offices
 located inside the AmericanAirlines Arena in downtown Miami, Florida.
        15.     Ms. Yakovee remained a full-time employee of The Heat Group at all times
 material hereto.
        16.     In each and every year of her career with The Heat Group, Ms. Yakovee
 received an annual pay increase, as well as merit-based bonuses twice every year.
        17.     In January 2019, Ms. Yakovee received her last performance review prior to
 her taking FMLA leave. In that review, her immediate supervisor, Raquel Libman, The Heat
 Group’s Executive Vice President and General Counsel, gave her the highest rating possible
 (“exceeds expectations”) in all categories. As a result of that review, Ms. Yakovee received a
 bonus accordingly.
        18.     In the fall of 2018, Ms. Yakovee was approved to become an adoptive parent.
        19.     On the evening of July 9, 2019, Ms. Yakovee received the news that she was
 selected to adopt a newly born baby.
        20.     Early the next morning of July 10, 2019, when she informed Ms. Libman of
 the pending adoption and her need for immediate parental leave, Ms. Libman’s response was,
 “now I definitely won’t get to take a vacation,” and “what am I gonna do with [your Assistant
 Counsel]?”
        21.     In addition to making her displeasure known to Ms. Yakovee, Ms. Libman
 made her displeasure regarding Ms. Yakovee’s maternity leave known to others as well,
 including other The Heat Group employees and outside counsel.
        22.     On July 10, 2019 and multiple times thereafter, Ms. Yakovee offered to go to
 the office for a few days at Ms. Libman’s convenience, to ensure she had transitioned matters
 in an organized and effective manner, and to address any other matter of importance to Ms.
 Libman. Ms. Libman, on the other hand, declined Ms. Yakovee’s offer each and every time.
        23.     Ms. Yakovee took formal leave beginning on July 11, 2019; she returned to

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 work twelve (12) weeks later on Thursday, October 3, 2019, as permitted by the FMLA.
        24.    In early August 2019, Eric Woolworth, the President of Business Operations
 told Ms. Yakovee via email that Ms. Libman was “upset” in connection with Ms. Yakovee’s
 discussions with him regarding her parental leave benefit, after which point Ms. Libman did
 not communicate with Ms. Yakovee by any means regarding any topic until Ms. Yakovee
 returned to work after the conclusion of her leave.
        25.    On October 3, 2019, the morning of Ms. Yakovee’s first day back to work, Ms.
 Yakovee arrived at the office and was immediately confronted with a lengthy email from Ms.
 Libman which had been sent earlier that morning at 8:23 a.m., in which Ms. Libman accused
 Ms. Yakovee of missing deadlines (during her leave), misrepresented a project that Ms.
 Yakovee worked on before her leave, assigned a new project to Ms. Yakovee, and then
 promptly cancelled a necessary meeting with others that was required to launch this new
 project. Ms. Yakovee responded with updates and questions. Ms. Libman never answered
 any of those questions and never responded to Ms. Yakovee’s email at all.
        26.    Beginning on her first day of returning to work, through to her forced departure
 on December 19, 2019, Ms. Libman treated Ms. Yakovee with disdain and hostility. She
 berated Ms. Yakovee and complained about her FMLA leave not only privately, but also
 publicly in group meetings and on group email correspondence. Ms. Libman also
 continuously refused to respond to Ms. Yakovee’s questions regarding on-going projects.
        27.    It is customary at The Heat Group for managers to send out a company-wide
 email announcing the birth of a direct report’s child. Ms. Libman never sent, or offered to
 send, an announcement on behalf of Ms. Yakovee, even though Ms. Yakovee was Ms
 Libman’s direct report.
        28.    On Friday, October 11, 2019, Ms. Yakovee’s co-worker sent a company-wide
 email announcing Ms. Yakovee’s adoption. The following Monday, Ms. Libman’s Executive
 Assistant told the same co-worker, that Ms. Libman was “ripping mad” about the
 announcement.
        29.    On Monday, October 14, 2019, Ms. Libman’s Executive Assistant told Ms.
 Yakovee that Ms. Libman was upset with her about her maternity leave, since July, and that
 Ms. Yakovee should “tread lightly.” Ms. Libman’s Executive Assistant also indicated that
 she feared Ms. Libman would become angry with her if Ms. Libman witnessed their

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 conversation.
        30.      After Ms. Yakovee’s return to work, Ms. Libman routinely cancelled weekly
 meetings with Ms. Yakovee and her group without advance notice or explanation; prior to
 Ms. Yakovee taking leave, Ms. Libman held a standing weekly one-on-one meeting with Ms.
 Yakovee every Wednesday at 11:00 a.m. and touted how helpful the meetings were.
        31.      Ms. Libman also began having one-on-one meetings with Ms. Yakovee’s direct
 report, the Assistant Counsel, without informing Ms. Yakovee.
        32.      On October 24, 2019, in a group email, Ms. Libman criticized Ms. Yakovee for
 not having left “any kind of project or status list of [her] work when [she] went out on leave”
 – even though Ms. Yakovee offered to come in to the office to do so multiple times and Ms.
 Libman told her not to. In the same email, Ms. Libman denied Ms. Yakovee’s request to
 discuss a necessary matter in an upcoming meeting with that group.
        33.      Just under an hour later that same day, the Vice President of Human Resources,
 Sonia Harty, called Ms. Yakovee to her office to meet with her and the Director of Human
 Resources. They told Ms. Yakovee that Ms. Libman had “self-reported” to HR; however,
 they did not explain what Ms. Libman “self-reported.” They then asked Ms. Yakovee if she
 thought she was working in a “hostile” work environment. It should be noted that Ms.
 Libman and Ms. Harty are close friends and maintain a longstanding personal platonic
 relationship outside of their employment at The Heat Group.
        34.      Following that meeting, and at Ms. Harty’s and the Director of Human
 Resources’ request, Ms. Yakovee provided detailed information regarding the disparate,
 hostile, and demeaning treatment she was suffering at the hands of Ms. Libman.
        35.      Meanwhile, in early November 2019, Ms. Libman continued to criticize Ms.
 Yakovee’s work in a wholly unfounded manner. In a group email, Ms. Libman alleged that
 a license agreement form Ms. Yakovee was instructed to use by Ms. Libman contained an
 error, when in fact the error she alleged did not exist. Ms. Libman further criticized a
 sponsorship contract form that Ms. Yakovee was instructed to use by Ms. Libman which Ms.
 Yakovee had improved upon over the years to Ms. Libman’s satisfaction and approval.
        36.      In mid-November 2019, in a meeting with Ms. Yakovee and her Assistant
 Counsel, Ms. Libman was pleasant towards and smiling at the Assistant Counsel – even while
 the Assistant Counsel recounted a project she was running that was off track – while being

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 antagonistic and hostile to Ms. Yakovee who was relaying the status of her on-time and
 successful projects. Ms. Yakovee recounted to Ms. Libman that the Vice President of Retail
 told her that because of Ms. Yakovee’s clever negotiating, the Miami Heat were able to
 capitalize on an exclusive and substantial revenue stream. Ms. Libman made a snide remark
 and refused to acknowledge Ms. Yakovee’s good work in that regard.
        37.      On November 27, 2019, Ms. Libman called Ms. Yakovee to her office and
 handed her a new performance review that was, for the first time, critical of her work product,
 in stark contrast to Ms. Yakovee’s prior performance reviews. When Ms. Yakovee attempted
 to ask questions about the erroneous and unfounded critiques, Ms. Libman said she could not
 discuss it without Human Resources present because there was an ongoing “investigation”
 and that Ms. Yakovee did “not understand the consequences of her actions.” Notably,
 performance reviews are not typically provided until January.
        38.      On December 4, 2019, Ms. Yakovee went to Eric Woolworth, the President of
 Business Operations’ office to express her concern to him about the objectivity of the
 investigation regarding Ms. Libman and to request an independent neutral investigator
 evaluate the matter. Mr. Woolworth responded that “Sonia [Harty] mentioned something,”
 but he seemed surprised to hear that Ms. Libman had self-reported and that an investigation
 was occurring. A week later, he denied Ms. Yakovee’s request for an independent neutral
 investigator.
        39.      That same day, December 4, 2019, the Director of Human Resources emailed
 Ms. Yakovee to unjustifiably criticize her for not having provided “enough advance notice”
 for her FMLA leave.
        40.      The following week, Ms. Libman instructed Ms. Yakovee to provide her with
 Ms. Yakovee’s performance review of the Assistant Counsel, as Ms. Libman wanted to read
 and edit it before it was submitted to Human Resources. Ms. Libman’s behavior was contrary
 to The Heat Group’s standard business practices for performance reviews.
        41.      In addition, Ms. Libman continued to directly assign work to the Assistant
 Counsel without informing Ms. Yakovee, despite having told Ms. Yakovee she would not do
 so, preventing Ms. Yakovee from effectively undertaking her responsibility for the flow of
 both her own workload as well as that of her Assistant Counsel.
        42.      Ms. Yakovee surmises that The Heat Group’s refusal to assign an independent

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 investigator, the unfounded criticisms of her performance by Ms. Libman, and the email
 correspondence received with respect to her leave many months after the fact, were an effort
 led by Ms. Libman and supported by Defendant to “litter the file” in order to provide Ms.
 Libman and Defendant with grounds to continue to harass and retaliate against Ms. Yakovee.
        43.     On December 17, 2019, Ms. Yakovee asked Ms. Harty and Ms. Libman if a
 sick day could be used by her to take her sick baby to the doctor. Ms. Yakovee had never
 taken a single sick day in her entire tenure with The Heat Group and did not know how they
 worked.
        44.     On December 18, 2019, with the approval of both Ms. Harty and Ms. Libman,
 Ms. Yakovee took half of the day off in order to take her sick baby to the doctor.
        45.     On December 19, 2019, Mr. Woolworth called Ms. Yakovee to his office, told
 her she was terminated, and to go home immediately.
        46.     Less than two (2) hours after Ms. Yakovee was terminated and sent home, she
 received a text message from The Heat Group’s outside counsel whose engagement was
 procured and/or managed by Ms. Libman. The purpose of his communication was to
 encourage Ms. Yakovee to immediately execute a non-negotiable, “take-it-or-leave-it”
 General Release and Severance Agreement which would have Ms. Yakovee waive all of her
 rights in exchange for monetary compensation. Given the circumstances leading up to and
 including her termination, Ms. Yakovee refused Defendant’s attempt to buy her silence and
 refused to sign it.
        47.     In accordance with the FMLA, Ms. Yakovee is entitled to recover attorney’s
 fees incurred in the prosecution of this action.
        48.     Ms. Yakovee has retained the undersigned attorney to represent her in the
 prosecution of this action and is obligated to pay said attorney a reasonable fee for her
 professional services.
        49.     In accordance with the FMLA, Ms. Yakovee is entitled to recover all costs
 incurred in the prosecution of this action.
                                 Count I - FMLA Interference
        50.     Ms. Yakovee realleges and incorporates by reference, as though fully set forth
 herein, paragraphs 1 through 49 of this Complaint.
        51.     From July 11, 2019 through October 2, 2019, Ms. Yakovee took leave for the

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 adoption of her infant child.
        52.     Ms. Yakovee engaged in activity protected by the FMLA when she requested
 and took leave from The Heat Group to adopt and care for her new child.
        53.     The Heat Group was aware of Ms. Yakovee’s right to FMLA-protected leave
 of absence to adopt and care for her new child.
        54.     Ms. Yakovee complied with all notice and due diligence requirements of the
 FMLA.
        55.     The Heat Group engaged in unlawful employment practices and interfered
 with Ms. Yakovee’s exercise of her FMLA rights by the conduct described above.
        56.     The Heat Group further engaged in unlawful employment practices and
 willfully interfered with Ms. Yakovee’s exercise of her FMLA rights by terminating her
 employment.
        57.     A causal connection exists between Ms. Yakovee’s exercise of leave and the
 termination of her employment by The Heat Group.
        58.     There are no legitimate or non-discriminatory reasons for Ms. Yakovee’s
 termination by The Heat Group.
        59.     Ms. Yakovee was injured as a result to The Heat Group’s violations of the
 FMLA, in that she has suffered lost wages, salary, employment benefits and other
 compensation, and as such, is entitled to legal relief.
        WHEREFORE, Plaintiff VERED YAKOVEE demands:
                (a)    A judgment that The Heat Group interfered with her rights in violation
 of the FMLA;
                (b)    Compensation for lost wages, benefits, and other remuneration;
                (c)    Reinstatement to a position comparable to her prior position with back
 pay plus interest, pension rights and all benefits, or in the alternative, the entry of a judgment
 pursuant to 29 U.S.C. Section 2617(a)(1)(A)(i)(II) against The Heat Group for the monetary
 losses Ms. Yakovee suffered as a direct result of The Heat Group’s violation of the FMLA;
                (d)    Front pay;
                (e)    Liquidated damages;
                (f)    Prejudgment interest on all monetary recovery obtained;
                (g)    All costs and attorney’s fees incurred in prosecuting these claims; and

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                 (h)     Any other such relief as this Court deems just and proper.
                                 Count II - FMLA Retaliation
         60.     Ms. Yakovee realleges and incorporates by reference, as though fully set forth
 herein, paragraphs 1 through 49 of this Complaint.
         61.     From July 11, 2019 through October 2, 2019, Ms. Yakovee took leave for the
 adoption of her infant child.
         62.     Ms. Yakovee engaged in activity protected by the FMLA when she requested
 and took leave from The Heat Group to adopt and care for her new child.
         63.     The Heat Group was aware of Ms. Yakovee’s right to FMLA-protected leave
 of absence to adopt and care for her new child.
         64.     Ms. Yakovee complied with all notice and due diligence requirements of the
 FMLA.
         65.     The Heat Group engaged in retaliatory behavior, in violation of the FMLA, by
 intentionally terminating Ms. Yakovee’s employment.
         66.     A causal connection exists between Ms. Yakovee’s exercise of leave and the
 termination of her employment by The Heat Group.
         67.     There are no legitimate, non-discriminatory or non-retaliatory reasons for Ms.
 Yakovee’s termination by The Heat Group.
         68.     Ms. Yakovee was injured due to Defendant’s willful violations of the FMLA,
 in that she has suffered lost wages, salary, employment benefits and other compensation, and
 as such, is entitled to legal relief.
         WHEREFORE, Plaintiff VERED YAKOVEE demands:
                 (a)     A judgment that The Heat Group retaliated against her for attempting
 to exercise her right to a leave of absence, in violation of the FMLA;
                 (b)     Compensation for lost wages, benefits, and other remuneration;
                 (c)     Reinstatement to a position comparable to her prior position with back
 pay plus interest, pension rights and all benefits, or in the alternative, the entry of a judgment
 pursuant to 29 U.S.C. Section 2617(a)(1)(A)(i)(II) against The Heat Group for the monetary
 losses Ms. Yakovee suffered as a direct result of The Heat Group’s violation of the FMLA;
                 (d)     Front pay;
                 (e)     Liquidated damages;

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                 (f)     Prejudgment interest on all monetary recovery obtained;
                 (g)     All costs and attorney’s fees incurred in prosecuting these claims; and
                 (h)     Any other such relief as this Court deems just and proper.
                                      Demand for Jury Trial
         Plaintiff VERED YAKOVEE, by and through her undersigned attorney, hereby
  demands a jury trial pursuant to Federal Rule of Civil Procedure 38 on all issues triable of
  right by jury in this action.
                                              Respectfully submitted,


                                              DEUTSCH ROTBART & ASSOCIATES, P.A.
                                              Counsel for Plaintiff

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